     Case 2:13-cr-06070-SAB         ECF No. 22   filed 12/11/13   PageID.40   Page 1 of 1




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 5                        UNITED STATES DISTRICT COURT
 6                      FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                       No. CR-13-6070-WFN

 9                     Plaintiff,                  ORDER ON PLEA
10
     vs.
11
12 KENNETH RICHARD ROWELL,
13
                       Defendant.
14
15         At Defendant’s December 11, 2013, arraignment by video conference, the
16   United States was represented by Assistant U.S. Attorney Mary Dimke; the
17   Defendant was in custody and present with Assistant Federal Defender Rebecca
18   Pennell. The Defendant acknowledged his rights and entered pleas of not guilty.
19         IT IS ORDERED that the plea of Defendant is received, and the Defendant
20   is bound over for trial before a district judge. The Defendant shall remain in the
21   custody of the U.S. Marshal pursuant to Order filed December 9, 2013.
22         DATED December 11, 2013.
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                                    _____________________________________
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                                              JOHN T. RODGERS
25                                   UNITED STATES MAGISTRATE JUDGE
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     ORDER ON PLEA - 1
